                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                  DOCKET NO. 3:05CR281-MU
                                    )
            v.                      )
                                    )                  ORDER
AUGUSTINE RIVERA RIVERA, ET AL )
____________________________________)


         THIS MATTER is before the Court upon Government’s Motion to Sever defendants’ cases

for trial.

         The Court finds for the reasons stated in the Government’s Motion to Sever that the motion

is GRANTED.

         IT IS THEREFORE ORDERED that the cases of (1) Augustine Antonio Rivera Rivera,

(2) Jose Daniel Rivera Rivera, (3) Elton Rodriguez and (4) Ignacio Manuel Rodriguez are hereby

severed for all further proceedings.

         IT IS FURTHER ORDERED that the trial of (4) Ignacio Manuel Rodriguez shall begin

during the 4 April 2006 criminal term in the Charlotte Division.

         IT IS FURTHER ORDERED that the trial of (2) Jose Daniel Rivera Rivera shall begin

during the 6 May 2006 criminal term in the Charlotte Division.

         IT IS FURTHER ORDERED that the trial of (3) Elton Rodriguez shall begin during the

5 June 2006 criminal term in the Charlotte Division.




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       IT IS FURTHER ORDERED that the trial of (1) Augustine Antonio Rivera Rivera shall

begin during the 18 July 2006 criminal term in the Charlotte Division.

                                                Signed: March 13, 2006




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  This _____ day of March 2006.



                                   _______________________________________
                                   GRAHAM C. MULLEN
                                   UNITED STATES DISTRICT JUDGE




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